                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

                                                                )
In re:                                                          )    Chapter 11
                                                                )
CARESTREAM HEALTH HOLDINGS, INC.,1                              )    Case No. 22-10781 (JKS)
                                                                )
                              Reorganized Debtors.              )    (Formerly Jointly Administered under
                                                                )    Lead Case: In re Carestream Health,
                                                                )    Inc., Case No. 22-10778 (JKS))
                                                                )
                                                                )    Re: Docket Nos. 235, 238, 239, 241, 242,
                                                                )    52
                                                                Hearing Date: December 15, 2022 at 2:00 p.m. (ET)

                         NOTICE OF HEARING TO CONSIDER FINAL
                     APPROVAL AND ALLOWANCE OF FEE APPLICATIONS


    TO:      (a) Office of the United States Trustee; (b) those persons who have requested notice
             pursuant to Bankruptcy Rule 2002; and (c) affected parties.


                     PLEASE TAKE NOTICE that a hearing to consider final approval and

allowance of the fee applications (the “Fee Applications”) filed in these cases (as specifically set

forth below) will be held on December 15, 2022 at 2:00 p.m. prevailing Eastern Time, before

the Honorable J. Kate Stickles, United States Bankruptcy Judge, at the United States Bankruptcy

Court for the District of Delaware, 824 Market Street, 5th Floor, Courtroom No. 6, Wilmington,

Delaware 19801.

                    First and Final Application for Compensation and Reimbursement of Expenses of
                     Pachulski Stang Ziehl & Jones LLP, as Co-Counsel for the Debtors and Debtors


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          The Reorganized Debtor in these chapter 11 cases, along with the last four digits of the Reorganized Debtor’s
          federal tax identification number is: Carestream Health Holdings, Inc. (7822). The location of the
          Reorganized Debtor’s service address is: 150 Verona Street, Rochester, New York 14608. On November 10,
          2022, the Court entered an order [Docket No. 245] closing the chapter 11 cases of the Reorganized Debtors
          other than Case No. 22-10781 (JKS).

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          Docket numbers refer to Case Nos. 22-10778 (JKS) and 22-10781 (JKS).


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                 in Possession, for the Period from August 23, 2022 through September 28, 2022
                 [Filed: 11/3/22] (Docket No. 235);

                Final Fee Application of Kurtzman Carson Consultants LLC, as Administrative
                 Advisor to the Debtors, for the Period from August 23, 2022 Through and
                 Including September 28, 2022 [Filed: 11/7/22] (Docket No. 238);

                First and Final Fee Application of Kirkland & Ellis LLP and Kirkland & Ellis
                 International LLP, Attorneys for the Debtors and Debtors in Possession, for the
                 Period from August 23, 2022, Through and Including September 28, 2022 [Filed:
                 11/7/22] (Docket No. 239);

                Final Application of AlixPartners, LLP, Financial Advisor to the Chapter 11
                 Debtors, for Allowance of Compensation for Professional Services Rendered and
                 Reimbursement of Expenses Incurred for the Period from August 23, 2022
                 through September 28, 2022 [Filed: 11/8/22] (Docket No. 241);

                First and Final Fee Application of Houlihan Lokey Capital, Inc. as Investment
                 Banker to Debtors for Allowance and Final Approval of Compensation for
                 Services Rendered and for Reimbursement of Expenses for the Period of August
                 23, 2022 through September 28, 2022 [Filed: 11/8/22] (Docket No. 242); and

                First and Final Fee Application of Ernst & Young LLP for Compensation and
                 Reimbursement of Expenses Incurred as Tax Services Provider for the Period
                 August 23, 2022 through September 28, 2022 [Filed: 11/11/22] (Docket No. 5).

                 PLEASE TAKE FURTHER NOTICE that the Fee Applications were

previously served upon you and objection deadlines were provided in the notices of Fee

Applications.

                 PLEASE TAKE FURTHER NOTICE that you may obtain a full copy of any of

the Fee Applications for a fee through the Court’s website at www.deb.uscourts.gov; or the

documents may be obtained for free by accessing the Reorganized Debtors’ restructuring website

at https://kccllc.net/Carestream.




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Dated: November 22, 2022       /s/ Timothy P. Cairns
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                               Timothy P. Cairns (DE Bar No. 4228)
                               Edward Corma (DE Bar No. 6718)
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                               Co-Counsel for the Reorganized Debtors




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